 

Case: 1:17-cv-00441 Document #: 12 Filed: 03/03/17 Page 1 of 8 PagelD #:121

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| L you ED for ANY section, please attach an additional sheet and reference that section.]

UNITED STATES DISTRICT COURT FOR THE
MAR 03 2017 5 NORTHERN DISTRICT OF ILLINOIS

 

BRUTON IN FORMA PAUPERIS APPLICATION
cLbae US DsrRICT COUR COURT AND FINANCIAL AFFIDAVIT
DeQNES ee A SL bok. ~)
Plaintiff

Case Number: 7 7 C. © CEC
judge: Phones “76 eek)

V.

Revwky PETES , ,otyety

Defendan¢(s).

Instructions: Please answer every question. Do not leave any blanks. If the answer is “none” or
“not applicable (N/A),” write that response. Wherever a box is included, place a VY in whichever
box applies. If you need more space to answer a question or to explain your answer, attach an
additional page that refers to each such question by number and provide the additional
information. Please print or type your answers.

 

Application: I, {\ US Fo We. , declare that I am the 2X plaintiff
O petitioner O movant O (other AIA ) in the

 

above-entitled case. This affidavit constitutes my application to proceed BX without full
prepayment of fees, or Bal in support of my motion for appointment of counsel, or 2-both. |
declare that I am unable to pay the costs of these proceedings, and I believe that I am entitled to
the relief sought in the complaint/petition/motion/appeal. In support of my application, I answer
the following questions under penalty of perjury.

 

 

 

 

 

 

 

1. Are you currently incarcerated? BR Yes O No
(If “No” go to question 2.)
ID#t KE B7Z Name of prison or jail: “27 evaet CC
Do you receive any payment from the institution? PY Yes Ol No
Monthly amount: Y /Oeo2
2. Are you currently employed? Yes BX No
A. If the answer is “yes,”state your:
Monthly salary or wages: LR
Name and address of employer: ARK
B. If the answer is “no,” state your:
Beginning and ending dates of last employment: / (A-
Last monthly salary or wages: A) LAR
Name and address of employer: fh L?-
Pa) NX
a. Are you married? CScpa rate of D EX Yes CO No
If the answer is “yes”, is your spouse currently employed? O Yes OD No UVVEs? wry

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Rev. 06/03/2016

 
 

Case: 1:17-cv-00441 Document #: 12 Filed: 03/03/17 Page 2 of 8 PagelD #:122

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Spouse ’s Monthly salary or wages: wd (6080

Name and address of mA VJ (AA
| A-

4. In addition to your income stated above in response to Question 2 (which you should not
repeat here), have you or anyone else living at the same residence received more than
$200 in the past twelve months from any of the following sources? Place a V next to
“Yes” or “No” in each of the categories A through G , check all boxes that apply in each
category, and fill in the twelve-month total in each category.

 

A. O Salary or O wages O Yes DK No

Total received in the last 12 months: NM LAX
AU ) A

Received by:

 

B. O Business, O profession or 0 other self-employment O Yes BK No
Total received in the last 12 months:
Received by:

 

C. O Rental income, 0 interest or O dividends O Yes —KNo
Total received in the last 12 months:
Received by:

 

D. O Pensions, O social security, O annuities, 0 life O Yes BY No
insurance, ) disability, 1 workers’ compensation,
OD alimony or maintenance or 0 child support
Total received in the last 12 months:
Received by:

 

E. BK Gifts or 0 inheritances KI Yes O No

Total received in the last 12 months: a #2 Ge -ST77. 20, 110 VEL
Received by: Peter dte 7

F. O Unemployment, 0 welfare, or O any other public O Yes EX No
assistance
Total received in the last 12 months:
Received by:

 

G. UO Any other sources (describe source: LUC We ) O Yes No

Total received in the last 12 months:
Received by: e

-

5. Do you or anyone else living at the same residence have more O Yes lk No
than $200 in cash or checking or savings accounts?

Total amount: LD LAE
In whose name held: - LYLE Relationship to you: LY it~

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Rev. 06/03/2016

 
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Case: 1:17-cv-00441 Document #: 12 Filed: 03/03/17 Page 3 of 8 PagelD #:123

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

Do you or anyone else living at the same residence own any
stocks, bonds, securities or other financial instruments? OO Yes ia’ No
Property: MIA Current value: LALLA

 

 

In whose name held: LY LAR Relationship to you: Ad f €F-

Do you or anyone else living at the same residence own any real estate (with or without a
mortgage)? Real estate includes, among other things, a house, apartment, condominium,
cooperative, two-flat, etc. O Yes IY No

 

Type of property and address: INA

 

Current value: LDL LA Equity: AA AE (Equity

 

is the difference between what the property is worth and the amount you WZe it.)
In whose name held: LAA Relationship to you:
Amount of monthly mortgage or loan payments:

 

 

Name of person making payments: VA Z. 4

Do you or anyone else living at the same residence own any automobiles with a current
O Yes BEENo

market value of more than $1000?
Year, make and model: JY LAR

 

Current value: LV LE Equity: LU AE (Equity is

 

the difference between what the automobile is worth and the amount you owe on it.)
Amount of monthly loan payments:

 

 

or other items of personal property with a current market value of more than $1000?

Oy BEN
Property: w/ J F- ~ °

In whose name held: (Kp Relationship to you: LOCA
Name of person making payments: LLL

Do you or anyone else living at the same residence own any boats, trailers, mobile homes

 

Current value: LOL Equity: Jv LE (Equity

 

is the difference between what the property is wen and the amount you owe on it.)
Amount of monthly loan payments: ,

 

 

In whose name held: LY A Relationship to you: Lh A
SLA FE

Name of person making payments:

 

List the persons who live with you who are dependent on you for support. State your

relationship to each person and state whether you are entirely responsible for the person’s

support or the specific monthly amount you contribute to his or her support. If none,

check here: BNone.
fU An

 

List the persons who do not live with you who are dependent on you for support. State

your relationship to each person and state how much you contribute monthly to his or her

support. If none, check here: None.

WY LL

 

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

06/03/2016

 

 
 

4

Case: 1:17-cv-00441 Document #: 12 Filed: 03/03/17 Page 4 of 8 PagelD #:124

[If you need additional space for ANY section, please attach an additional sheet and reference that section. ]

I declare under penalty of perjury that the above information is true and correct. I understand
that 28 U.S.C. § 1915(e)(2)(A) states that the court shall dismiss this case at any time if the
court determines that my allegation of poverty is untrue.

Date: 2. /23/2ZXH7 LEE I
Signature of A
Devs is LBC

(Print Name) Z

 

 

NOTICE TO PRISONERS: In addition to the Certificate below. a prisoner must also attach a
print-out from the institution(s) where he or she has been in custody during the last six months
showing all receipts, expenditures and balances in the prisoner’s prison or jail trust fund
accounts during that period. Because the law requires information as to such accounts covering
a full six months before you have filed your lawsuit, you must attach a sheet covering
transactions in your own account — prepared by each institution where you have been in custody
during that six-month period. As already stated, you must also have the Certificate below
completed by an authorized officer at each institution.

CERTIFICATE
(Incarcerated applicants only)
(To be completed by the institution of incarceration)

I certify that the applicant named herein Dowis Taylor , 1.D# K vrT a4 , has
=E4S

the sum of $ on account to his/her creditat (name of institution)
NO . | further certify that the applicant has the following

securities to his/her credit: I further certify that during the past six months the
applicant’s average monthiy deposit was $ aq . (Add all deposits from all

nu rt divide by number of moyen) Mule Lk OMG L.

 

 

 

 

 

 

 

Date ! Signatur& of Authorized Officet}
Viehele Ange
(Print Name) .

 

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Rev. 06/03/2016

 
Case: 1:17-cv-00441 Document #: 12 Filed: 03/03/17 Page 5 of 8 PagelD #:125
 

Case: 1:17-cv-00441 Document #: 12 Filed: 03/03/17 Page 6 of 8 PagelD #:126
Stateville Correctional Center

Date: 2/24/2017
10:10am

Page 1
Time:

Trust Fund

d_list_inmate_trans_statement_composite Inmate Transaction Statement

REPORT CRITERIA - Date: 07/01/2016 thru End;

Inmate: R68729; Active Status Only ? : No;
Transaction Type: All Transaction Types;

Print Furloughs / Restitutions ? : Yes;
Errors Only ? : No

Print Restrictions ? : Yes;
Include Inmate Totals ? : Yes; Print Balance

Inmate: R68729 Taylor, Dennis Housing Unit: STA-X -UW-03

 

Date Source

 

 

 

 

Transaction Type Batch Reference # Description Amount Balance

Beginning Balance: 48.62

07/13/16 Payroll 20 Payroll Adjustment 1951241 P/R month of 6 2016 68 49.30

07/20/16 Point of Sale 60 Commissary 2027196 828475 Commissary -32.66 16.64

08/03/16 Disbursements 83 Copies 2163147 Chk #189298 JM61911, DOC: 523 Fu, _ Inv. Date: -.80 15.84
06/16/2016

08/03/16 Disbursements 83 Copies 2163147 Chk #189298 JM62223, DOC: 523 Fu, Inv. Date: -1.30 14.54
. 06/27/2016

08/10/16 Point of Sale 60 Commissary 2237150 831152 Commissary -12.31 2.23

08/11/16 Point of Sale 60 Commissary 2247150 831281 Commissary 12.31 14.54

08/11/16 = Payroll 20 Payroll Adjustment 2241147 P/R month of 7 2016 7.48 22.02

08/12/16 Disbursements 83 Copies 2253147 Chk #189449 JM62746, DOC: 523 Fu, _ Inv. Date: -1.00 21.02
07/14/2016

08/13/16 Mail Room 10 Western Union 226200 5291279860 Taylor, Rachelle 250.00 271.02

08/18/16 Point of Sale 60 Commissary 2317229 832196 Commissary -200.00 71.02

09/01/16 Disbursements 83 Copies 2453147 Chk #190082 JM63174, DOC: 523 Fu, _ Inv. Date: -.80 70.22
08/01/2016

09/19/16 Payroll 20 Payroll Adjustment 2631147 P/R month of 8 2016 8.50 78.72

09/20/16 Point of Sale 60 Commissary 2647227 835563 Commissary -58.25 20.47

09/20/16 Point of Sale 60 Commissary 2647227 835564 Commissary -2.27 18.20

10/03/16 Mail Room 15 JPAY 277200 63827121 Piszczor, Frank 100.00 118.20

10/18/16 Point of Sale 60 Commissary 2927239 837826 Commissary -76.49 41.71

10/18/16 Payroll 20 Payroll Adjustment 2921263 P/R month of 9 2016 10.00 51.71

10/24/16 Payroll 20 Payroll Adjustment 2981241 June 360 Backpay 9.18 60.89

11/09/16 Disbursements 83 Copies 3143263 Chk #191120 JM65513, DOC: 523 Fu, Inv. Date: -2.80 58.09
10/27/2016

11/09/16 Point of Sale 60 Commissary 3147121 840300 Commissary -40.07 18.02

11/14/16 — Payroll 20 Payroll Adjustment 3191263 P/R month of 102016 10.00 28.02

11/15/16 Disbursements 99 Transfer Inmate 3203272 Chk #191194 Menard CC, _ Inv. Date: 11/15/2016 -28.02 .00

12/13/16 Payroll 20 Payroll Adjustment 3481263 P/R month of 112016 3.40 3.40

| 12/13/16 Disbursements 99 Transfer Inmate 3483241 Chk #191578 Menard CC, Inv. Date: 12/13/2016 -3.40 .00

Total Inmate Funds: .00

Less Funds Held For Orders: .00

Less Funds Restricted: .00

Funds Available: .00

Total Furloughs: .00

Total Voluntary Restitutions: 00

 

Page 1
Date: 2/24/2017

Case: 1:17-cv-00441 Document #: 12 Filed: 03/03/17 Page 7 of 8 PagelD #:127

 

 

 

 

 

 

Menard Correctional Center Page 1
d_list_inmate_trans_statement_composite View Transactions
Inmate: R68729 Taylor, Dennis Housing Unit: MEN-W -08-12
Date Source Transaction Type Batch Reference # Description Amount Balance
Beginning Balance: 0.00
11/18/16 Mail Room 04 Intake and Transfers In 3232207 191194 Stateville C.C. 28.02 28.02
11/30/16 Mail Room 10 Western Union 335200 3120985079 Taylor, Carloyn 30.00 58.02
11/30/16 Disbursements 80 Postage 3353113 Chk #146847 559121, Pitney Bowes, _ Inv. Date: -.42 57.60
11/18/2016
12/05/16 Mail Room 10 Western Union 340200 5344258632 Droney, Michael 100.00 157.60
12/06/16 Point of Sale 60 Commissary 3417183 1294151 Commissary -136.45 21.15
12/07/16 Payroll 20 Payroll Adjustment 3421107 P/R month of 112016 6.46 27.61
12/13/16 Mail Room 10 Western Union 348200 0981159061 Brownridge, Chia 100.00 127.61
)
12/15/16 Point of Sale 60 Commissary 3507181 1297232 Commissary -102.51 25.10
12/18/16 Mail Room 15 JPAY 353200 66730564 Taylor, Scottie 50.00 75.10
12/19/16 Mail Room 04 Intake and Transfers In 3542207 191578 Stateville C.C. 3.40 78.50
01/10/17 Payroll 20 Payroll Adjustment 010159 P/R month of 122016 7.48 85.98
01/12/17 Point of Sale 60 Commissary 0127181 1301462 Commissary -71.98 14.00
01/14/17 Mail Room 10 Western Union 014200 7910989726 Taylor, Carloyn 25.00 39.00
01/19/17 Disbursements 81 Legal Postage 0193113 Chk #147691 565081, Pitney Bowes, Inv. Date: -18.01 20.99
01/19/2017
02/08/17 Payroll 20 Payroll Adjustment 0391113 P/R month of 1 2017 5.44 26.43
02/09/17 Disbursements 84 Library 0403113 Chk #148039 565559, DOC: 523 Fun, Inv. Date: -25.00 1.43
01/20/2017
02/16/17 Point of Sale 60 Commissary 0477184 1307607 Commissary -1.18 .25
02/17/17 Disbursements 84 Library 0483207 Chk #148195 567717, DOC: 523 Fun, _ Inv. Date: -.20 .05
02/10/2017
Total Inmate Funds: .05
Less Funds Held For Orders: .00
Less Funds Restricted: 1.50
Funds Available: -1.45
Total Furloughs: .00
Total Voluntary Restitutions: .00

 
    

Sy i gg = CPOE
0 PiODD? PUBAG S oe
ew

 

Lc-LLOZ/€o/¢eo
HA AA

 
